          Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 1 of 13




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                  §
    In re:                                                        §       Chapter 11
                                                                  §
    AGILON ENERGY HOLDINGS II LLC, et al.                         §       Case No. 21-32156 (MI)
                                                                  §
                           Debtors.2                              §       (Jointly Administered)
                                                                  §

           ORDER AUTHORIZING THE DEBTORS TO EMPLOY AND RETAIN
      GRANT THORNTON LLP AS FINANCIAL ADVISOR PURSUANT TO SECTIONS
     327(A) AND 328 OF THE BANKRUPTCY CODE EFFECTIVE AS OF JUNE 27, 2021

             Upon the application (the “Application”)3 of the debtors in possession in the above-

captioned case (collectively, the “Debtors”) for an order (this “Order”) pursuant to sections 327(a)

and 328 of title 11 of the United States Code (the “Bankruptcy Code”), authorizing the Debtors to

employ and retain Grant Thornton, LLP (“GT” or “Grant Thornton”) as restructuring advisors,

effective as of the Petition Date, on the terms set forth in the engagement letter (the “Engagement

Letter”) attached hereto as Exhibit 1; and upon the Declaration of Loretta Cross (the “Cross

Declaration”) in support of the Application attached to the Application as Exhibit A; and due and

adequate notice of the Application having been given; and the Court being satisfied that GT is a

“disinterested person” as such term is defined under section 101(14) of the Bankruptcy Code; and

it appearing that no other or further notice need be provided; and it appearing that the relief

requested by this Application is in the best interests of the Debtors, their estates, their creditors,




2
    The debtors and debtors in possession these chapter 11 cases, along with the last four digits of their respective
    Employer Identification Numbers, are as follows: Agilon Energy Holdings II LLC (3389) (“Agilon”), Case No. 21-
    32156; Victoria Port Power LLC (4894) (“VPP”), Case No. 21-32157; and Victoria City Power LLC (4169)
    (“VCP” and together with Agilon and VPP, the “Debtors”), Case No. 21-32158. The Debtors’ mailing address is:
    5850 San Felipe, Ste 601, Houston, Texas 77057.
3
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.

                                                          1
         Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 2 of 13




and other parties in interest; and after due deliberation and sufficient cause appearing therefor, it

is HEREBY ORDERED THAT:

         1.    Pursuant to sections 327(a) and 328 of the Bankruptcy Code, Bankruptcy Rules

2014 and 2016, and Bankruptcy Local Rule 2014-1, the Debtors are hereby authorized to retain

GT as financial advisors to the Debtors, effective as of the Petition Date on the terms set forth in

the Engagement Letter.

         2.    The terms of the Engagement Letter, including without limitation, the

compensation provisions and the indemnification provisions, are reasonable terms and conditions

of employment and are hereby approved.

         3.    To the extent there is inconsistency between the terms of the Engagement Letter,

the Application, and this Order, the terms of this Order shall govern.

         4.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

         5.    Notice of the Application as provided therein shall be deemed good and sufficient

notice of such Application and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy

Local Rules are satisfied by such notice.

         6.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Application.

         7.    This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order.

Dated:


                                               Marvin Isgur
                                               United States Bankruptcy Judge



                                                 2
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 3 of 13




                          Exhibit 1
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 4 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 5 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 6 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 7 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 8 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 9 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 10 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 11 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 12 of 13
Case 21-32156 Document 76-2 Filed in TXSB on 07/27/21 Page 13 of 13
